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                       Exhibit 111
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Conditions Associated with Antibodies Against the
Tumor-Associated Antigen MUC1 and Their
Relationship to Risk for Ovarian Cancer

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Abstract

Many cancers, including ovarian, overexpress epithelial                                          more conditions. By the same index of events, the risk for
mucin (MUC1) and promote anti-MUC1 antibodies that                                               ovarian cancer was inversely associated with number of
may correlate with more favorable prognosis. By extension,                                       conditions predisposing to anti-MUC1 antibodies. Com-
risk for ovarian cancer might be reduced by preexisting                                          pared with having experienced 0 or 1 event, the adjusted
MUC1-specific immunity. We measured anti-MUC1 anti-                                              risk for ovarian cancer decreased progressively with relative
bodies in 705 control women, identified events predicting                                        risks (and 95% confidence limits) of 0.69 (0.52-0.92), 0.64
antibodies, and estimated ovarian cancer risk by comparing                                       (0.47-0.88), 0.49 (0.34-0.72), and 0.31 (0.16-0.61), respectively
profiles of events generating antibodies in controls with                                        for women with two, three, four, and five or more events
those in 668 ovarian cancer cases. Factors predicting anti-                                      related to the presence of antibodies (P trend < 0.0001.) We
bodies included oral contraceptive use, breast mastitis, bone                                    conclude that several traditional and new risk factors for
fracture or osteoporosis, pelvic surgeries, nonuse of talc in                                    ovarian cancer may be explained by their ability to induce
genital hygiene, and to a lesser extent intrauterine device use                                  MUC1 immunity through exposure of MUC1 to immune
and current smoking. There was a significant increase in the                                     recognition in the context of inflammatory or hormonal
likelihood of having anti-MUC1 antibodies from 24.2% in                                          processes in various MUC1-positive tissues. (Cancer Epi-
women with 0 or 1 condition, to 51.4% in those with five or                                      demiol Biomarkers Prev 2005;14(5):1125 31)


Introduction
Human mucin (MUC) family member, MUC1, is a high                                                 that sera from multiparous women also reacted with multiple
molecular weight protein expressed in a highly glycosylated                                      antigens from ovarian cancer cells more strongly than sera
form and low levels by many types of normal epithelial cells                                     from nulliparous women or men (11), although MUC1 was not
and in a hypoglycosylated form and high levels by most                                           specifically examined in these experiments.
epithelial adenocarcinomas, including breast and ovarian                                            In this study, we used an ELISA to determine the presence
cancer (1). Anti-MUC1 antibodies have been described and                                         and relative amounts of MUC1-specific antibody in women
correlated with a more favorable prognosis (2-5) showing that                                    from the general population who served as controls in a study
patients generate immunity against MUC1 produced by their                                        of ovarian cancer. In analyses confined to these controls, we
tumors and defining MUC1 as a tumor-associated antigen and                                       identified the predictors of anti-MUC1 antibodies and used
candidate for cancer vaccines (6). Anti-MUC1 antibodies are                                      case-control comparisons to evaluate these predictors in
also found in healthy individuals, especially in women during                                    relation to ovarian cancer risk. We hypothesized that events
pregnancy and lactation. It has been hypothesized that a                                         predicting anti-MUC1 antibodies would be inversely asso-
natural immunity against tumor MUC1 might develop and                                            ciated with ovarian cancer risk and that there would be a
account for the long-term protective effect of pregnancy or                                      cumulative effect of such events.
breast-feeding on breast cancer risk (7), an elaboration on the
so called ‘‘fetal antigen theory ’’ (8). Indeed it has been shown
that sera from multiparous women, but not from nulliparous                                       Materials and Methods
women or from men, are able to mediate killing of breast
cancer cells (9). Supporting a key role for MUC1 in these                                           Subject Recruitment and Study. This report is based on the
reactions, core peptide sequences from MUC1 can induce                                           second phase of a population-based case-control study of ovar-
proliferation of T cells and cytotoxic T-cell responses in                                       ian cancer conducted between 7/98 and 7/03 and involving
multiparous women (10). Recently, the ‘‘fetal antigen’’                                          eastern Massachusetts and all of New Hampshire, approved
hypothesis was extended to ovarian cancer after it was shown                                     by the Brigham and Women’s Hospital and Dartmouth
                                                                                                 Medical Center’s Institutional Review Boards. We identified
                                                                                                 1,267 cases from tumor boards and Statewide Registries and
Received 1/17/05; accepted 3/4/05.                                                               excluded 119 cases who died, 110 who moved from the study
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Cramer), and CA 56103 (O.J. Finn).
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                                                                                                 and 46 found to have a nonovarian primary upon review. Of
This article must therefore be hereby marked advertisement in accordance with 18 U.S.C.          the remaining 968, physicians denied permission to contact 106
Section 1734 solely to indicate this fact.                                                       and 171 declined to participate, leaving 691 cases interviewed.
Requests for reprints: Daniel W. Cramer, Epidemiology Center, Brigham and Women’s                Of these, 668 had an epithelial ovarian cancer (including
Hospital, 221 Longwood Avenue, Boston, MA 02115. Phone: 617-732-4895; Fax: 617-732-4899.
E-mail: dcramer@partners.org                                                                     borderline malignancies) and are included in this report. A
Copyright D 2005 American Association for Cancer Research.                                       small number of cases (n = 48) were enrolled before surgery.

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                                                             Research.
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Table 1. Occurrence of anti-MUC1 antibodies in control women by epidemiologic variables
                                  Negative         Positive*                                                                Mean absorbance          Age adjusted
                                                                                                                            (SE)                     P
                                                   Low              Intermediate        High             Any
All                         467 (66.2)             94 (13.3)        57 (8.1)            87 (12.3)        238 (33.8)         0.44 (0.08)
Age (y)
  <35                        33 (50.0)             12 (18.2)         8 (12.1)           13 (19.7)          33 (50.0)        0.57 (0.24)
  35 44                      90 (65.7)             17 (12.4)        18 (13.1)           12 (8.8)           47 (34.3)        0.45 (0.18)
  45 54                     133 (67.5)             25 (12.7)        13 (6.6)            26 (13.2)          64 (32.5)        0.48 (0.13)
  55 64                     118 (70.7)             24 (14.4)        11 (6.6)            14 (8.4)           49 (29.3)        0.37 (0.19)
  z65                        93 (67.4)             16 (11.6)         7 (5.1)c           22 (15.9)          45 (32.6)c       0.41 (0.23)              0.0009
Race
  White                     454 (66.5)             92 (13.5)        55 (8.0)            82 (12.0)        229 (33.5)         0.44 (0.08)
  Non White                  13 (59.1)              2 (9.1)          2 (9.1)             5 (22.7)          9 (40.9)         0.62 (0.37)              0.07
Religion
  Non Jewish                448 (66.3)             89 (13.2)        55 (8.1)            84 (12.4)        228 (33.7)         0.44 (0.09)
  Jewish                     19 (65.5)              5 (17.2)         2 (6.9)             3 (10.3)         10 (34.5)         0.47 (0.35)              0.68
Marital status
  Never married              40 (66.7)              6 (10.0)         6 (10.0)            8 (13.3)         20 (33.3)         0.51 (0.22)
  Ever married              427 (66.2)             88 (13.6)        51 (7.9)            79 (12.2)        218 (33.8)         0.44 (0.09)              0.49
Pregnancy history
  Never pregnant             62 (66.7)             11 (11.8)         8 (8.6)            12 (12.9)          31 (33.3)        0.51 (0.19)
  Pregnant but no            20 (71.4)              4 (14.3)         3 (10.7)            1 (3.6)            8 (28.6)        0.45 (0.30)
    live births
  At least one live birth   385 (65.9)             79 (13.5)        46 (7.9)            74 (12.7)        199 (34.1)         0.43 (0.10)              0.24
Breast feeding (among parous women)
  Never breast fed          159 (66.0)             33 (13.7)        16 (6.6)            33 (13.7)         82 (34.0)         0.43 (0.15)
  Breast fed and            211 (67.0)             41 (13.0)        29 (9.2)            34 (10.8)        104 (33.0)         0.42 (0.13)
    no mastitis
  Breast fed and mastitis    15 (53.6)              5 (17.9)         1 (3.6)              7 (25.0)b        13 (46.4)        0.55 (0.38)              0.95
OC use
  No                        170 (70.8)             25 (10.4)        19 (7.9)            26 (10.8)         70 (29.2)         0.41 (0.15)
  Yes                       297 (63.9)             69 (14.8)        38 (8.2)            61 (13.1)        168 (36.1)         0.46 (0.10)              0.42
OC use in premenopausal subjects
  No                         39 (73.6)              4 (7.6)          8 (15.1)            2 (3.8)          14 (26.4)         0.45 (0.24)
  Yes                       147 (59.3)             43 (17.3)b       23 (9.3)            35 (14.1)c       101 (40.7)c        0.49 (0.13)              0.30
IUD use
  No                        379 (66.4)             70 (12.3)        51 (8.9)            71 (12.4)        192 (33.6)         0.44 (0.09)
  Yes                        88 (65.7)             24 (17.9)b        6 (4.5)            16 (11.9)         46 (34.3)         0.45 (0.18)              0.60
Bone fracture/osteoporosis
  No                        355 (67.0)             68 (12.8)        50 (9.4)            57 (10.8)        175 (33.0)         0.43 (0.10)
  Yes                       112 (64.0)             26 (14.9)         7 (4.0)b           30 (17.1)c        63 (36.0)         0.46 (0.16)              0.16
Colitis
  No                        440 (65.9)             93 (13.9)        54 (8.1)            81 (12.1)        228 (34.1)         0.44 (0.08)
  Yes                        27 (73.0)              1 (2.7)b         3 (8.1)             6 (16.2)         10 (27.0)         0.44 (0.39)              0.97
Endometriosis
  No                        430 (66.2)             86 (13.2)        53 (8.2)            81 (12.5)        220 (33.8)         0.45 (0.09)
  Yes                        37 (67.3)              8 (14.6)         4 (7.3)             6 (10.9)         18 (32.7)         0.39 (0.32)              0.26
Pelvic surgery
  No pelvic surgery         304 (69.1)             52 (11.8)        33 (7.5)            51 (11.6)        136 (30.9)         0.43 (0.10)
  Hysterectomy               26 (70.3)              4 (10.8)         1 (2.7)             6 (16.2)         11 (29.7)         0.39 (0.55)
    only
  Tubal sterilization only   54 (64.3)             15 (17.9)         6 (7.1)              9 (10.7)         30 (35.7)        0.44 (0.23)
  Conization only            14 (58.3)              3 (12.5)         1 (4.2)              6 (25.0)         10 (41.7)        0.62 (0.34)
  Cesarean section only      31 (64.6)              5 (10.4)         6 (12.5)             6 (12.5)         17 (35.4)        0.47 (0.29)
  >1                         38 (52.8)             15 (20.8)c       10 (13.9)c            9 (12.5)         34 (47.2)c       0.48 (0.27)              0.12
Smoking
  Never                     228 (66.5)             43 (12.5)        30 (8.8)            42 (12.2)        115 (33.5)         0.45 (0.12)
  Former                    182 (67.7)             36 (13.4)        20 (7.4)            31 (11.5)         87 (32.3)         0.43 (0.14)
  Current                    57 (61.3)             15 (16.1)         7 (7.5)            14 (15.0)         36 (38.7)         0.45 (0.25)              0.86
Talc use
  None                      208 (61.9)             43 (12.8)        41 (12.2)           44 (13.1)        128 (38.1)         0.46 (0.12)
  Body use only             117 (68.8)             23 (13.5)         9 (5.3)            21 (12.4)         53 (31.2)         0.46 (0.15)
  Genital use               142 (71.4)             28 (14.1)         7 (3.5)c           22 (11.1)         57 (28.6)c        0.39 (0.17)              0.08
                x
No. conditions
  0 or 1                    119 (75.8)             15 (9.6)         10 (6.4)            13 (8.3)           38 (24.2)        0.37 (0.20)
  2                         155 (67.1)             26 (11.3)        20 (8.7)            30 (13.0)          76 (32.9)        0.44 (0.14)
  3                         114 (65.9)             25 (14.4)        17 (9.8)            17 (9.8)           59 (34.1)        0.45 (0.15)
  4                          61 (57.0)             21 (19.6)         6 (5.6)            19 (17.8)          46 (43.0)        0.51 (0.20)
  5 or more                  18 (48.6)              7 (18.9)c        4 (10.8)            8 (21.6)c         19 (51.4)k       0.53 (0.41)              0.003

*Positive antibodies: low, 0.6 z A < 0.8; intermediate, 0.8 z A < 1.0; high A z 1.0; any A z 0.6.
cP < 0.05.
bP between 0.05 and 0.15.
xConditions include bone fracture/osteoporosis, mastitis, pelvic surgeries, IUD use, no genital talc use, OC use, and current smoking; Also adjusted for study center

(Massachusetts, New Hampshire), parity (continuous), non-White race, and Jewish religion.
kP
   trend = 0.0005.



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     had more than one surgery had antibodies compared with                 decrease the risk for ovarian cancer. MUC1 is normally present
     30.9% of women who never had pelvic surgery (P = 0.01). A              in a glycosylated, membrane-bound form on the apical surface
     surprising finding was that 38.1% of women who reported no             of most polarized epithelial cells of the respiratory, genitouri-
     use of cosmetic talc in hygiene had antibody compared with             nary, and digestive tracts as well as breast ducts (12). With
     28.6% of women who regularly used talc in genital hygiene              malignant transformation, epithelial cells lose polarity and
     (P = 0.04). The final entry shows the trend for elevated anti-         overexpress MUC1 on their entire cell surface. A soluble,
     MUC1 antibody levels by increasing number of antibody-                 underglycosylated form circulates in cancer patients, thus
     promoting conditions. These included all variables significant         becoming available for recognition by the immune system
     in univariate analyses, such as OC use, bone fracture, mastitis,       (6, 13). Some healthy women and men also have detectable
     pelvic surgery, and genital talc use (where no use was                 MUC1 (albeit much lower levels) as well as anti-MUC1
     considered the ‘‘condition’’) as well as variables of marginal         antibodies. In women mostly ages 50 to 70 years, McGuckin
     significance in the univariate analysis, which nevertheless            et al. assessed the presence of circulating MUC1 using
     improved the overall model including current smoking                   the cancer-associated serum antigen assay. Cancer-associated
     and use of an intrauterine device (IUD). A significant trend           serum antigen concentrations were elevated in smokers
     (P = 0.0005) in the likelihood of having antibodies was                and increased progressively with age (14). In a sample of
     observed such that 24.2% of women who had zero or one of               women from the same study, Richards et al. then measured
     condition had antibodies compared with 51.4% of women who              anti-MUC1 antibodies and found that virtually all women
     had experienced five or more of these conditions.                      less than age 40 had antibodies and this percentage declined
        Spearman (rank) correlations were calculated between the            with age (4), somewhat similar to the pattern we observed.
     absorbance reading and several variables quantifiable on a             It is well established that women have MUC1 and anti-
     numerical scale. No significant correlations were noted with           MUC1 antibodies during pregnancy and breast-feeding,
     number of live births, months of breast-feeding, or pack-years         presumably due to changes within the breast or uterus
     of smoking (data not shown). Weak but significant positive             that alter MUC1 expression, glycosylation, or shedding
     correlations were noted between absorbance values and                  (4, 15, 16). In addition, Hinoda et al. observed antibodies
     months of OC use (r = 0.09, P = 0.02) and number of cesarean           specific for the peptide backbone of MUC1 in patients with
     sections (r = 0.10, P = 0.02). A nonsignificant inverse                ulcerative colitis and speculated that inflammation may
     correlation was noted between absorbance and estimated total           change MUC1 glycosylation and enhance its immunogenicity
     applications of talc. When genital talc users were characterized       (17). One difficulty in evaluating these studies is that assays
     by <weekly, weekly, and daily use, there was a trend of                both for MUC1 and anti-MUC1 antibodies may differ. In
     borderline significance (P = 0.11) for women using talc more           measuring antibodies, assays will vary by the specific epitope
     frequently to have the lower antibody levels after adjustment          of MUC1 and the secondary immunoglobulin antibody used.
     for age, smoking, bone fractures, and OC or IUD use.                   The assay in our study is based on the peptide backbone
                                                                            of MUC1 that we believe is closer to tumor MUC1 and we
        Risk for Ovarian Cancer Associated with Antibody-
                                                                            assessed total immunoglobulin levels including all isotypes,
     Promoting Events. The variables examined in relation to anti-
                                                                            IgG, IgM, and IgA.
     MUC1 antibodies were then examined in relation to ovarian
                                                                               In our data, anti-MUC1 antibodies were associated with
     cancer risk, based upon case-control comparisons (Table 2).
                                                                            events affecting the reproductive tract, whose epithelia heavily
     Odds ratios for ovarian cancer with each of these variables
                                                                            express MUC1 (18). Injury and/or inflammation of these
     (except for age which was a matching variable) were calculated
                                                                            tissues, surgery, and other events might allow enhancement of
     and adjusted for age, study site, exact parity, non-White race,
                                                                            MUC1 expression, spillage into circulation, and presentation to
     and Jewish religion. Our study confirmed the influence of
                                                                            the immune system. Thus, the mechanism by which tubal
     known ovarian cancer risk factors including parity, breast-
                                                                            sterilization reduces ovarian cancer risk, previously attributed
     feeding, and OC use. In addition, we identified previously
                                                                            to preventing substances like talc or endometrial cells from
     unreported risk factors, including mastitis, relative risk (and
                                                                            reaching the ovaries (19, 20), may include production of
     95% confidence limits) of 0.35 (0.16-0.77); IUD use, relative risk
                                                                            protective antibodies. In our data, cervical conization involv-
     of 0.68 (0.50-0.91); and bone fracture, relative risk of 0.70 (0.53-
                                                                            ing injury and repair of endocervical tissue was also associated
     0.91). The final entry shows the association between number of
                                                                            with a nonsignificant increase in antibody formation and
     antibody-promoting conditions and ovarian cancer risk. Com-
                                                                            decrease in risk for ovarian cancer. Antibody formation was
     pared with women with zero or one condition, the risk for
                                                                            also directly correlated with number of cesarean sections,
     ovarian cancer decreased progressively with relative risks (and
                                                                            which involve incision and repair of the uterine wall and
     95% confidence limits) of 0.69 (0.52-0.92), 0.64 (0.47-0.88), 0.49
                                                                            endometrium. Endometrial expression of MUC1 might also be
     (0.34-0.72), and 0.31 (0.16-0.61), respectively, for women with
                                                                            affected by IUD use, as suggested by biopsies showing a low-
     two, three, four, and five or more conditions (P trend < 0.0001).
                                                                            grade, chronic inflammation with enhanced mucin staining
     This pattern mirrored the effect of these same conditions on
                                                                            (21). We found that IUD use increased the likelihood of
     the likelihood that control women had anti-MUC1 antibody
                                                                            antibodies in the ‘‘low’’ range and significantly decreased the
     (Fig. 2). Finally, risk by number of antibody-promoting
                                                                            risk for ovarian cancer. This is the first study to identify an
     conditions was examined separately for major histologic
                                                                            inverse association between ovarian cancer and IUD use,
     subtypes of ovarian cancer (Table 3). The inverse association
                                                                            whereas there is considerably more evidence that IUD use
     was most evident for endometrioid cancers followed by
                                                                            reduces risk for endometrial cancer (22), another tumor with
     undifferentiated and then invasive serous cancers. Numbers
                                                                            high MUC1 expression (23).
     were too limited to make any definitive comments about
                                                                               An increased likelihood of MUC1-specific antibodies in the
     predictors of antibodies among the 48 cases with preoperative
                                                                            ‘‘high’’ range was found in women reporting bone fracture or
     bloods in whom anti-MUC1 antibodies were measured.
                                                                            a diagnosis of osteoporosis. Both conditions are known to be
                                                                            associated with high interleukin 6 levels (24, 25), an important
                                                                            regulatory cytokine for MUC1 expression (26). Furthermore, a
     Discussion                                                             bone fracture might be associated with release of hemato-
                                                                            poetic precursors into the circulation, some of which may
     To date, this is the largest study to examine determinants of          express MUC1 and be immunogenic (27). We also found an
     anti-MUC1 antibodies and the first to show that conditions             inverse association between bone fracture/osteoporosis and
     that generally increase the likelihood of having antibodies            ovarian cancer risk, which to our knowledge has not been

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shown previously. Interestingly, bone fracture is associated                     smoking may increase the risk only for mucinous histologic
with reduced endometrial and breast cancer risk (28).                            subtypes (31, 32). Although current smoking was not clearly
Whereas this may simply reflect low estrogen, an influence                       related to either anti-MUC1 antibody development or ovarian
of anti-MUC1 antibodies should also be considered. Besides                       cancer risk in our univariate analyses, it did improve the
bone fracture and IUD use, a third factor, which may link the                    cumulative index models in Tables 1 and 2. Furthermore,
etiology of ovarian and endometrial cancer, is smoking. A                        McGuckin’s observation that smokers have higher serum
decreased risk for endometrial cancer is found in smokers,                       MUC1 levels (presumably from damaged lung epithelium)
especially current smokers (29, 30). The data are less clear for                 provides a basis for linking current smoking to anti-MUC1
ovarian cancer with two recent studies suggesting that                           antibody production (14).

Table 2. Adjusted risk for ovarian cancer by epidemiologic variables in ovarian cancer cases and controls
                                                Cases                      Controls                  Adjusted odds ratio                 Adjusted P *
                                                                                                     (95% confidence interval)
Age (y)
  <35                                            68 (50.8)                  66 (49.2)
  35 44                                         123 (46.2)                 143 (53.8)
  45 54                                         198 (49.2)                 204 (50.8)
  55 64                                         159 (48.6)                 168 (51.4)
  z65                                           120 (46.2)                 140 (53.8)
Race
  White                                         629 (47.4)                 699 (52.6)                1.00
  Non White                                      39 (63.9)                  22 (36.1)                2.14 (1.24 3.69)                     0.007
Religion
  Non Jewish                                    614 (47.1)                 690 (52.9)                1.00
  Jewish                                         54 (63.5)                  31 (36.5)                1.88 (1.19 3.00)                     0.007
Marital status
  Never married                                 107 (62.9)                  63 (37.1)                1.00
  Ever married                                  561 (46.0)                 658 (54.0)                0.66 (0.46 0.96)                     0.03
Pregnancy history
  Never pregnant                                169 (64.0)                  95 (36.0)                1.00
  Pregnant but no live births                    37 (54.4)                  31 (45.6)                0.69 (0.40 1.18)                     0.18
  At least one live birth                       462 (43.7)                 595 (56.3)                0.41 (0.30 0.55)                    <0.0001
Breast feeding (among parous women)
  Never breast fed                              231 (48.6)                 244 (51.4)                1.00
  Breast fed and no mastitis                    219 (40.5)                 322 (59.5)                0.72 (0.56 0.93)                     0.01
  Breast fed and mastitis                         9 (23.7)                  29 (76.3)                0.35 (0.16 0.77)                     0.009
OC use
  No                                            312 (56.1)                 244 (43.9)                1.00
  Yes                                           356 (42.7)                 477 (57.3)                0.55 (0.43 0.69)                    <0.0001
OC use in premenopausal subjects
  No                                            102 (65.4)                  54 (34.6)                1.00
  Yes                                           184 (41.6)                 258 (58.4)                0.38 (0.26 0.57)                    <0.0001
IUD use
  No                                            577 (49.6)                 586 (50.4)                1.00
  Yes                                            91 (40.3)                 135 (59.7)                0.68 (0.50 0.91)                     0.01
Bone fracture/osteoporosis
  No                                            544 (50.0)                 545 (50.0)                1.00
  Yes                                           124 (41.3)                 176 (58.7)                0.70 (0.53 0.91)                     0.007
Colitis
  No                                            645 (48.6)                 683 (51.4)                1.00
  Yes                                            23 (37.7)                  38 (62.3)                0.58 (0.34 1.00)                     0.05
Endometriosis
  No                                            611 (47.8)                 666 (52.2)                1.00
  Yes                                            57 (50.9)                  55 (49.1)                1.02 (0.69 1.52)                     0.92
Pelvic surgery
  No pelvic surgery                             441 (49.4)                 452 (50.6)                1.00
  Hysterectomy only                              39 (51.3)                  37 (48.7)                1.23 (0.75 2.03)                     0.40
  Tubal sterilization only                       69 (44.5)                  86 (55.5)                1.00 (0.70 1.42)                     0.98
  Conization only                                15 (38.5)                  24 (61.5)                0.64 (0.33 1.26)                     0.20
  Cesarean section only                          60 (55.0)                  49 (45.0)                1.38 (0.91 2.09)                     0.13
  >1 surgery                                     44 (37.6)                  73 (62.4)                0.73 (0.48 1.10)                     0.13
Smoking
  Never                                         338 (48.9)                 353 (51.1)                1.00
  Former                                        235 (46.2)                 274 (53.8)                1.15 (0.83 1.60)                     0.40
  Current                                        95 (50.3)                  94 (49.7)                0.94 (0.74 1.19)                     0.59
Talc use
  None                                          319 (48.2)                 343 (51.8)                1.00
  Body use only                                 135 (43.7)                 174 (56.3)                0.87 (0.66 1.15)                     0.33
  Genital use                                   214 (51.2)                 204 (48.8)                1.16 (0.90 1.49)                     0.25
No. conditionsc
  0 or 1                                        218 (57.4)                 162 (42.6)                1.00
  2                                             220 (48.1)                 237 (51.9)                0.69 (0.52 0.92)                     0.01
  3                                             150 (45.9)                 177 (54.1)                0.64 (0.47 0.88)                     0.005
  4                                              67 (38.3)                 108 (61.7)                0.49 (0.34 0.72)                     0.0002
  5 or more                                      13 (26.0)                  37 (74.0)                0.31 (0.16 0.61)                     0.0007

*Adjusted for age (continuous), study center (Massachusetts, New Hampshire), parity (continuous), non-White race, and Jewish religion.
cConditions include bone fracture/osteoporosis, mastitis, pelvic surgeries, IUD use, no genital talc use, OC use, and current smoking.


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                       Exhibit 112
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        Study (NHS) to assess whether genital use of talcum           pausal if they were above a certain age (>54 years for
        powder among women confers an increased risk of en-           current smokers, >56 years for former or nonsmokers).
        dometrial cancer.                                             Nurses were also asked at what age their periods ceased
                                                                      and for what reason (natural, surgery). Age at meno-
        Materials and Methods                                         pause in the NHS is reported with a high degree of
                                                                      reproducibility and accuracy (16).
           Study population. The NHS is a prospective cohort             Women reported the number of pregnancies lasting
        study established in 1976, when 121,700 married female        6 months or more and their age at first birth on every ques-
        registered nurses residing in 11 U.S. states and were be-     tionnaire through 1984. In 1996, they were asked to report
        tween the ages of 30 to 55 completed a baseline mailed        their lifetime pregnancy history. These data were used to
        questionnaire inquiring about various disease exposures       derive biennially updated variables for parity, age at first
        and personal health status. Revised questionnaires were       birth, and age at last birth.
        mailed biennially to update exposure and disease infor-          Postmenopausal hormone (PMH) use and duration of
        mation. The follow-up rate through 2004, as measured          use were first asked in 1976. Beginning in 1978 and at
        as a percentage of total possible person-years, was           each 2-year follow-up, women were asked whether they
        95.5%. Deaths in this cohort were identified by next-         currently used PMH, the number of months used during
        of-kin reports, the U.S. Postal Service, or through           the 24 months prior to the questionnaire, and the type of
        searches of the National Death Index (15). The Com-           PMH. Duration of ever hormone use was calculated as
        mittee on the Use of Human Subjects in Research at            the cumulative duration of all types of PMH use reported
        Brigham and Women's Hospital, Boston, MA approved             over the follow-up.
        this analysis.                                                   Information on weight, diabetes, and smoking were
           For this study, we excluded women who had had a            collected at baseline and updated every 2 years. BMI
        hysterectomy (n = 30,287), had surgical menopause (n =        (kg/m2) was calculated using height reported in 1976
        123), reported endometrial cancer (n = 89), reported any      and weight reported at each cycle. Height and weight
        other type of cancer excluding nonmelanoma skin cancer        are accurately reported in the NHS (17). Because BMI
        (n = 1,422), or had died (n = 1,203) prior to assessment of   is an important confounder, we carried forward BMI
        talcum powder use in 1982. Women who were missing             from the prior cycle for women missing weight in
        body mass index (BMI) for at least two consecutive cycles     one cycle. If BMI was missing for two consecutive cy-
        prior to and including the 1982 cycle were temporarily        cles, we excluded the person-time for these women un-
        excluded until they reported their weight again. A total      til they reported their weight again. Nurses were asked
        of 66,028 women remained for analysis.                        whether they were past or current cigarette smokers
           Diagnosis of endometrial cancer cases. Information on      and the number of cigarettes smoked per day. Pack-
        endometrial cancer diagnoses was collected beginning          years were calculated by multiplying smoking duration
        in 1978 and at each subsequent questionnaire cycle.           in years by packs of cigarettes smoked per day.
        Women who reported a diagnosis of endometrial cancer             First-degree family history of endometrial cancer was
        were asked for permission to review their medical re-         collected only in 1996. Information on oral contraceptive
        cords. Only cases of invasive type I endometrioid adeno-      (OC) use and duration of use in months was collected
        carcinoma (International Classification of Diseases for       every 2 years until 1982, at which time fewer than 500
        Oncology-3 histology codes 8380-83) confirmed by medi-        women reported using OCs (18).
        cal records were included in this analysis.                      Statistical analysis. We used multivariate Cox pro-
           Data collection. Use of talcum powder was assessed         portional hazards models stratified by age in months
        in 1982. Participants were asked whether they had             at the start of follow-up and calendar year to estimate
        ever commonly applied talcum, baby, or deodorizing            incidence rate ratios (RR) and 95% confidence intervals
        powder to the perineal area (no, less than once a week,       (CI). The time scale used was follow-up time in months,
        one to six times a week, daily), or to sanitary napkins       which is equivalent to using age in months as the time
        (no, yes).                                                    scale. Participants were followed from the age in months
           Age at menarche was collected at baseline in 1976.         at the date of return of the 1982 questionnaire until
        Menopausal status, age at menopause and type of men-          the end of the study (June 1, 2004). Women contributed
        opause were collected at baseline and every 2 years           person-time until age in months at death, diagnosis of
        thereafter. On each questionnaire, women were asked           endometrial cancer, report of any other cancer exclud-
        whether their menstrual periods had ceased perma-             ing nonmelanoma skin cancer, report of hysterectomy,
        nently [yes, no longer have periods; yes, periods in-         report of surgical menopause (one or two ovaries re-
        duced by hormones (asked from 1988 onwards); no,              moved), loss to follow-up, or the end of the study,
        unsure]. Women who responded “yes” were classified            whichever came first. We evaluated the associations
        as postmenopausal and this status was carried forward         among all women and stratified by menopausal status.
        into all future cycles. Women who responded “no or            In the analysis among postmenopausal women, women
        unsure” were classified as premenopausal. Women               started contributing person-times after they became
        missing menopausal status were classified as postmeno-        menopausal.



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                                                                                                      Talc and Endometrial Cancer Risk




   Table 1. Age and age-standardized baseline characteristics according to perineal talc use in 1982
   among 66,088 women in the NHS
   Characteristics                                                                     Ever perineal talc use
                                                                  No (n = 40,958)                                  Yes (n = 25,130)

   Age                                                                  48                                               48
   Age at menarche                                                      12.6                                             12.5
   Nulliparous (%)                                                       6.0                                              5.6
   Parity (mean)*                                                        3.2                                              3.2
   Age at first birth*                                                  25                                               25
   Age at last birth*                                                   31                                               31
   Ever OC use (%)                                                      47                                               46
   OC duration (mo)†                                                    52                                               51
   Postmenopausal (%)                                                   40                                               40
   Age at menopause‡                                                    49                                               49
   Ever PMH use (%)‡                                                    30                                               29
   PMH duration (mo)†,‡                                                 35                                               34
   Ever cigarette smoking (%)                                           57                                               56
   Pack-years†                                                          22                                               21
   BMI (kg/m2)                                                          24.2                                             25.6
   BMI (kg/m2) [%]
     <25                                                                67.9                                             55.8
     25-29                                                              22.6                                             27.2
     ≥30                                                                 9.5                                             17.0
   Diabetes (%)                                                          0.8                                              0.9
   Family history uterine cancer (%)                                     3.0                                              2.9
   IUD (%)                                                               2.9                                              2.8
   Diaphragm (%)                                                         4.2                                              4.4

   NOTE: Characteristics adjusted for age in 5-y categories (<45, 45-49, 50-54, 55-59, 60-64, >65).
   *Among parous women only.
   †
     Among users.
   ‡
     Among postmenopausal women.



   Talcum powder use was modeled as ever use (no,                     with missing data, a missing indicator was included in
 yes), regular use (at least once a week), frequency of               the model.
 use (0, less than once a week, one to six times a week,
 daily use), and indirect use on sanitary napkins (no,                Results
 yes). To test for trend, we weighted the categories of fre-
 quency of perineal talc use as 0, 2, 15.5, and 30 days of               Our analysis included 66,028 women with 599 incident
 use per month and calculated the Wald test. The final                cases of confirmed endometrial cancer diagnosed be-
 model was adjusted for age at menarche, age at meno-                 tween 1982 and 2004. A total of 1,069,130 person-years
 pause, parity, age at last birth, PMH use duration, OC               were accumulated over 22 years of follow-up. The mean
 use duration, BMI, smoking pack-years, report of diabe-              age at the start of follow-up was 48 years, and women
 tes, and family history of endometrial cancer. All vari-             were followed for an average of 16 years. Ever users of
 ables in the model were entered as time-dependent                    perineal talc and never users were similar in terms of
 and updated biennially at the date in months of return               their baseline characteristics, except for BMI (Table 1).
 of each questionnaire, with the exception of talcum                  Women who reported ever using talcum powder were
 powder use, age at menarche, and family history of en-               more likely to be obese than never users (17% versus
 dometrial cancer, which were collected at a single time              10%), and talc users had a higher mean BMI (25.6 versus
 point (in 1982, 1976, and 1996, respectively) and were               24.2 kg/m2). In addition, users were less likely to be nul-
 entered as baseline variables. Other than BMI, which                 liparous (5.6% versus 6.0%).
 was modeled continuously, all exposures and covariates                  After control for confounding, ever use of perineal tal-
 were categorized and an indicator variable was created               cum powder was associated with a borderline significant
 for each category (see tables for categories). For covariates        13% increase in endometrial cancer risk among all



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          Table 2. Incidence RRs and 95% CIs for ever and regular talc use and endometrial cancer risk among all
          women and stratified by menopausal status in the NHS
          Women                                       Ever perineal talc use                                    Regular perineal talc use
                                                                                                                 (at least once a week)
                                               No                           Yes                            No                           Yes

          All women
             Cases                            334                           265                           397                           202
             Person-years                   687,327                       420,106                       806,391                       301,041
             RR (95% CI)*                    1.00                     1.13 (0.96-1.33)                    1.00                    1.17 (0.99-1.40)
          Postmenopausal
             Cases                            287                           242                           344                           185
             Person-years                   461,381                       281,958                       538,227                       205,113
             RR (95% CI)*                    1.00                     1.21 (1.02-1.44)                    1.00                    1.24 (1.03-1.48)
          Premenopausal
             Cases                            47                             23                           53                             17
             Person-years                   204,180                       125,414                       242,419                       87,176
             RR (95% CI)†                    1.00                     0.69 (0.40-1.19)                   1.00                     0.77 (0.42-1.39)
          P interaction‡                                                    0.02                                                        0.07

          *Adjusted for age, parity (0, 1, 2, 3, 4+), age at last birth (nulliparous, <30, 30-34, 35-39, ≥40), age at menarche (≤11, 12, 13, ≥14),
          age at menopause (premenopausal, <45, 45-49, 50-54, ≥55), OC duration (never, ≤12 mo, 13-36 mo, 37-72 mo, >72 mo), PMH
          duration (premenopausal/never, past <5 y, past 5+ years, current <5 y, current 5+ y), BMI (continuous), smoking pack-years (0, 1-
          20, 21-40, 40+), diabetes (no, yes), and family history of uterine cancer (no, yes); also adjusted for menopausal status (premeno-
          pausal, postmenopausal) among all women only.
          †
            Adjusted for age, parity (0, 1, 2, 3, 4+), age at last birth (nulliparous, <30, 30-34, 35-39, ≥40), age at menarche (≤11, 12, 13, ≥14),
          OC duration (never, ≤12 mo, 13-36 mo, 37-72 mo, >72 mo), BMI (continuous), smoking pack-years (0, 1-20, 21-40, 40+), diabetes
          (no, yes), and family history of uterine cancer (no, yes).
          ‡
            Wald test for interaction term between talc use and menopausal status.



        women, and a statistically significant 21% increase in risk               of PMH use (n = 27 cases). The association with regular
        among postmenopausal women (95% CI, 1.02-1.44;                            use of talcum powder was maintained in this low-risk
        Table 2). There was no evidence of an association among                   group despite decreased power (BMI < 25 never PMH
        premenopausal women, although the confidence interval                     users, cases = 27: RR, 2.44; 95% CI, 1.02-5.80; BMI ≥ 25
        was wide due to the small number of premenopausal                         never PMH users, cases = 157: RR, 1.52; 95% CI, 1.09-
        cases. Because of significant differences in the results by               2.12; BMI < 25 ever PMH users, cases = 139: RR, 0.90;
        menopausal status (P interaction = 0.02), as well as the                  95% CI, 0.59-1.36; BMI ≥ 25 ever PMH users, cases =
        small number of premenopausal cases, further detailed                     170: RR, 1.27; 95% CI, 0.92-1.75; data not shown).
        analyses of talc and risk were conducted among post-
        menopausal women only (Table 3). When we examined                         Discussion
        the association between frequency of perineal talc use
        and risk among postmenopausal women, there was a                            We report for the first time an association between per-
        borderline trend of increasing risk with increasing fre-                  ineal use of talcum powder and endometrial cancer risk.
        quency of use (P trend = 0.04; Table 3); in addition, the                 In this large prospective study, we found a significant al-
        risks associated with perineal talc use one to six times a                though modest increase in risk for endometrial cancer
        week or daily were elevated and borderline statistically                  among postmenopausal women with a history of perineal
        significant. Regular use of talcum powder, defined as                     use of talcum powder. The presence of an association
        use at least once a week, was associated with a 24% in-                   among postmenopausal but not premenopausal women
        crease in risk among postmenopausal women (95% CI,                        may be attributed to a longer duration of exposure or
        1.03-1.48). The difference between the age-adjusted and                   an increased latency in postmenopausal women, or to
        multivariate results was due to confounding by BMI.                       pathologic differences between premenopausal and post-
        Indirect use on sanitary napkins was not associated with                  menopausal endometrial cancer. The strength of the asso-
        risk. We further restricted the analyses to a group of post-              ciation is comparable with that reported between talc
        menopausal women at low risk for endometrial cancer                       and ovarian cancer risk, a relationship investigated since
        (19), consisting of normal-weight women with no history                   the early 1980s (1, 20). In addition, some studies have



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                                                                                                         Talc and Endometrial Cancer Risk




 reported a positive association between talc and the se-                 proliferation, DNA damage, and finally, malignant
 rous (21) or endometrioid histologic subtype of ovarian                  transformation of cells (6). Talc has been shown to pro-
 cancer (22, 23), the latter of which resembles endome-                   duce such responses in vivo and in vitro (26, 27). The
 trial carcinoma, providing additional support for our                    local inflammation mechanism would require talc to
 findings.                                                                reach the uterus. Although few studies are available,
    We observed a borderline increase in risk with in-                    there is some evidence of retrograde transport of inert
 creasing frequency of talc use, indicating a possible                    particles through the genital tract (28, 29). Talc particles
 dose-response. In addition, the association with regular                 have been found in human ovarian tissue (12) and human
 talc use was slightly stronger than the association for                  pelvic lymph nodes (30), and an increased risk of ovarian
 ever use. If regular users recall use more accurately than               cancer has been noted with talc use before compared with
 non-regular users, regular use of talcum powder may be                   after tubal ligation (22, 23). In addition, talc is a poorly
 a more precise classification of exposure. Alternatively,                soluble chemical; it is estimated that a 1-μm spherical talc
 regular use may be necessary to cause an adverse effect,                 particle in the lung would take 8 years to dissolve (31).
 if there is a threshold level of exposure below which                    These data support the contention that talc particles
 carcinogenicity is not evident. To adequately address a                  can migrate and persist in distant organs; furthermore,
 dose-response relationship, the exposure needs to incor-                 the uterus is a more accessible site than the ovaries.
 porate information regarding frequency of use, duration                  Exposure of the external genital area to talcum powder
 of use, and intensity of exposure (24). In this study, in-               may also activate a systemic inflammatory response.
 formation was available only on frequency of use. Stud-                  Users of talcum powder have lower plasma levels of
 ies for ovarian cancer have been inconsistent in                         anti-MUC1 antibodies than nonusers (32). MUC1 is a
 establishing a dose-response relationship, partly due to                 protein highly expressed by ovarian, breast, and endo-
 the difficulty of accurately quantifying exposure (25).                  metrial tumors, and low levels of anti-MUC1 antibodies
    Our results suggest a possible role of inflammation in                are associated with poorer prognosis (32, 33). Reducing
 the development of endometrial cancer, as talc is a known                immunity to MUC-1 may be one mechanism by which
 inflammatory agent (26). Talc may increase endometrial                   talc increases endometrial cancer risk.
 cancer risk by inducing local and/or systemic inflamma-                     Other mechanistic factors that may come into play in-
 tion. A local inflammatory response would entail activa-                 clude chronicity of inflammation (34) and timing of ex-
 tion of macrophages and cytokine production, increased                   posure with regard to the phases of the uterine cycle.
 production of reactive oxygen species, increased cell                    Any inflammation initiated by genital application of talc



   Table 3. Incidence RRs and 95% CIs for talc use and endometrial cancer risk among postmenopausal
   women in the NHS
                                    No. of cases       Person-years        Age-adjusted RR (95% CI)           Multivariate RR* (95% CI)

   Ever perineal talc use
     No                                  287              461,381                       1.00                              1.00
     Yes                                 242              281,958                 1.38 (1.16-1.64)                  1.21 (1.02-1.44)
   Frequency of perineal talc use
     No use                              287              461,381                       1.00                              1.00
     Less than once a week                57               76,845                 1.22 (0.91-1.62)                  1.09 (0.81-1.45)
     One to six times a week              87               97,793                 1.40 (1.10-1.79)                  1.28 (1.00-1.63)
     Daily                                98              107,320                 1.49 (1.18-1.87)                  1.24 (0.98-1.56)
     P trend†                                                                         <0.001                              0.04
   Regular perineal talc use (at least once a week)
     No                                  344              538,227                       1.00                              1.00
     Yes                                 185              205,113                 1.40 (1.17-1.68)                  1.24 (1.03-1.49)
   Sanitary napkin talc use
     No                                  403              587,317                       1.00                              1.00
     Yes                                  67               94,233                 1.04 (0.80-1.35)                  0.98 (0.75-1.27)

   *Adjusted for age, parity (0, 1, 2, 3, 4+), age at last birth (nulliparous, <30, 30-34, 35-39, ≥40), age at menarche (≤11, 12, 13, ≥14),
   age at menopause (<45, 45-49, 50-54, ≥55), OC duration (never, ≤12 mo, 13-36 mo, 37-72 mo, >72 mo), PMH duration (never, past
   <5 y, past 5+ y, current <5 y, current 5+ y), BMI (continuous), smoking pack-years (0, 1-20, 21-40, 40+), diabetes (no, yes), and
   family history of uterine cancer (no, yes).
   †
     P trend for categories of frequency of perineal talc use weighted as 0, 2, 15.5, and 30 d of use per month.




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        is likely to be sustained because studies indicate that                         availability of a single assessment of talc use is a limita-
        women start using talcum powder at an early age (35)                            tion of this study, as this may have resulted in some ex-
        and continue using it for decades (14). The endometrial                         posure misclassification during follow-up; however, talc
        tissue is highly proliferative and regenerates with every                       use was assessed when women in the study were above
        menstrual cycle. Chronic inflammation following long                            36 years of age (mean age, 48 years), when never users
        duration of use of talcum powder may be sufficient to                           are unlikely to start using talc, reducing potential expo-
        cause carcinogenesis despite the monthly shedding of                            sure misclassification (35). Furthermore, we were unable
        the endometrial lining. Certain phases of the uterine cycle                     to explore a dose-response with duration of talc use be-
        may also represent windows of particular susceptibility to                      cause information on duration of use was not available.
        exposure. For example, exposure during the proliferative                           In summary, we noted a modest positive association
        phase of the uterine lining may be more likely to cause                         between genital use of talcum powder and endometrial
        DNA damage and propagation. On the other hand, the                              cancer risk among postmenopausal women. However,
        inflammatory response is a natural process in the uterus                        this association needs to be replicated in future and larger
        during the late secretory and menstrual phase. During                           studies. Mechanistic studies also are needed to elucidate
        this period of tissue disintegration, inflammatory cells in-                    the process by which talc may increase the risk of carci-
        filtrate the region, cytokines, prostaglandins, and cycloox-                    nogenesis and to provide additional support for this re-
        ygenase-2 are released, and NF-κB is activated (36). Use of                     lationship. Studies may include assessing differences in
        talcum powder during menstruation may interfere with                            inflammatory markers between talc users and nonusers
        normal immune processes in the uterus and prevent com-                          or in vitro studies of the response of endometrial cells
        plete shedding of the lining. The inflammation hypothesis                       to talc particles. In addition, identifying genetically sus-
        as a mechanism for the carcinogenic effects of talc is sup-                     ceptible populations might offer insight into potential
        ported by recent evidence that the risk of ovarian cancer                       mechanisms. Future studies addressing the association
        associated with talc is modified by variation in detoxifica-                    between talcum powder use and endometrial cancer risk
        tion genes (35), emphasizing that clearance mechanisms                          may provide further evidence for the role of inflamma-
        are important in reducing risk. Studies show a reduction                        tion in endometrial cancer.
        in risk for endometrial cancer following use of nonsteroi-
        dal anti-inflammatory drugs, especially among high-risk
                                                                                        Disclosure of Potential Conflicts of Interest
        individuals (37, 38), supporting the role of inflammation
        in endometrial cancer.                                                               No potential conflicts of interest were disclosed.
           The strengths of this study include prospectively col-
        lected data and adjustment for known risk factors for en-
        dometrial cancer, some of which are associated with talc                        Grant Support
        use, such as obesity (39). We adjusted for BMI continu-
                                                                                           Research grants R01 CA082838 and P01 CA87969 and training grant
        ously to reduce confounding, and to minimize potential                          T32 CA009001 (M. Gates) from the National Cancer Institute, NIH, and
        residual confounding, we secondarily restricted the anal-                       the HSPH Cyprus Initiative for the Environment and Public Health
                                                                                        funded by the Republic of Cyprus (S. Karageorgi).
        ysis to normal-weight women. We additionally restricted                            The costs of publication of this article were defrayed in part by the
        our analysis to never users of PMH because both BMI                             payment of page charges. This article must therefore be hereby marked
        and PMH use are strong enough risk factors for endome-                          advertisement in accordance with 18 U.S.C. Section 1734 solely to indicate
                                                                                        this fact.
        trial cancer to obscure a modest association with talc, and
        are linked to chronic systemic inflammation and changes                           Received 12/04/2009; revised 03/03/2010; accepted 03/05/2010;
        in levels of inflammatory markers (40), respectively. The                       published OnlineFirst 04/20/2010.




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Perineal Use of Talcum Powder and Endometrial Cancer Risk
Stalo Karageorgi, Margaret A. Gates, Susan E. Hankinson, et al.

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Overview

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Note: Separate PDQ summaries on Ovarian, Fallopian Tube, and Primary Peritoneal Cancer Screening and
Ovarian Epithelial, Fallopian Tube, and Primary Peritoneal Cancer Treatment are also available.

Factors With Adequate Evidence of an Increased Risk of Ovarian, Fallopian Tube,
and Primary Peritoneal Cancer
Family history and inherited susceptibility to ovarian, fallopian tube, and primary peritoneal
cancer
Based on solid evidence, women with a family history of ovarian cancer, especially in a first-degree relative, and
those with an inherited predisposition to ovarian cancer, such as a BRCA1 or BRCA2 mutation, have an increased
risk of developing ovarian cancer. (Refer to the PDQ summary on Genetics of Breast and Gynecologic Cancers
for more information.)

Endometriosis
Based on fair evidence, self-reported and laparoscopically confirmed endometriosis is associated with an
increased risk of ovarian cancer.[1,2] The association is stronger with nonserous histologic subtypes, specifically
endometrioid and clear cell carcinomas.[2,3]

Magnitude of Effect: Modest with observed relative risks (RRs) of 1.8 to 2.4.

      Study Design Cohort and case control studies

      Internal Validity Good
      Consistency Fair

      External Validity Good

Hormone replacement therapy
Based on fair evidence, current or recent hormone therapy is associated with a small increased risk of ovarian
cancer. Risks attenuate after hormone therapy is discontinued. Risks did not differ by preparation type (estrogen
only vs. combined estrogen/progestin).[4,5]

Magnitude of Effect: Modest with observed RRs of 1.20 to 1.8.

      Study Design: One randomized clinical trial, cohort and case-control studies.

      Internal Validity: Good.
      Consistency: Fair.
      External Validity: Good.

Obesity and height
Based on fair evidence, increases in height and body mass index (BMI) are associated with a modest increased
risk of ovarian cancer.

Magnitude of Effect: Based on an overview analysis of 25,157 women with ovarian cancer and 81,211 women
without ovarian cancer from 47 epidemiological studies, the RR of ovarian cancer per 5 cm increase in height is
1.07 (95% confidence interval [CI], 1.05–1.09). The RR of ovarian cancer per 5 kg/m2 increase in BMI is 1.10 (95%


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CI, 1.07–1.13) among never-users of hormone therapy and 0.95 (95% CI, 0.92–0.99) among ever-users of
hormone therapy.[6]

      Study Design: Cohort and case-control studies.
      Internal Validity: Good.
      Consistency: Good.
      External Validity: Good.

Factors With Adequate Evidence of a Decreased Risk of Ovarian, Fallopian Tube,
and Primary Peritoneal Cancer

Oral contraceptives: benefits
Based on solid evidence, oral contraceptive use is associated with a decreased risk of developing ovarian cancer.

Magnitude of Effect: The degree of risk reduction varies by duration of oral contraceptive use and time since
last use. For 1 to 4 years of oral contraceptive use, the RR reduction is 22%, and for 15 or more years of use, the
RR reduction is 56%. The reduction in risk persisted for more than 30 years after use was discontinued, but the
degree of reduction attenuated over time. The risk reduction per 5 years of oral contraceptive use was 29% for
women who discontinued use less than 10 years ago and decreased to 15% for women who discontinued use 20
to 29 years ago. Ten years of use reduced cancer incidence before age 75 years from 1.2 to 0.8 per 100 users and
reduced mortality from 0.7 to 0.5 per 100 users. The number needed-to-treat for 5 years was estimated to be
about 185 women.

      Study Design: Multiple case-control and cohort studies; meta-analyses.

      Internal Validity: Good.
      Consistency: Good.
      External Validity: Good.

Oral contraceptives: harms
Based on solid evidence, combined current use of estrogen-progestin oral contraceptive use is associated with
an increased risk of venous thromboembolism, particularly among smokers, for whom use is contraindicated.
Oral contraceptives are not associated with a long-term increased risk of breast cancer but may be associated
with a short-term increased risk while a woman is taking oral contraceptives. The risk of breast cancer declines
with time since last use.

Magnitude of Effect: The risks may vary by preparation. Overall, the absolute risk of venous thromboembolism
is about three events per 10,000 women per year while taking oral contraceptives. The risk is modified by
smoking. Breast cancer risk among long-term (>10 years) current users is estimated at one extra case per year
per 100,000 women. The risk dissipates with time since last use.

      Study Design: Observational studies.

      Internal Validity: Good.
      Consistency: Good.
      External Validity: Good.

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Tubal ligation: benefits                                           75841

Based on solid evidence, tubal ligation is associated with a decreased risk of ovarian cancer.

Magnitude of Effect: Adjusting for other forms of contraception, tubal ligation provides a relative reduction in
the odds of developing ovarian cancer of about 30%.

      Study Design: Multiple case-control studies and cohort studies.

      Internal Validity: Good.
      Consistency: Good.
      External Validity: Good.

Tubal ligation: harms
Based on fair evidence, harms include surgical risks, including the following:[7]

    • Major morbidity including blood transfusion, reoperation, or hospital readmission (rate of 1.0 per 100
      procedures).

    • Minor morbidity including postoperative fever, urinary tract infections, or wound infections (rate of 6.0 per
      100 procedures).

Multiparity
Based on good evidence, multiparity is associated with a decreased risk of ovarian cancer.

Magnitude of Effect: Based on good evidence from multiple observational epidemiological studies, parous
women have an approximately 30% lower ovarian cancer risk than nulliparous women.[6,8,9]

      Study Design: Observational epidemiologic studies.
      Internal Validity: Good.

      Consistency: Good.
      External Validity: Good.

Salpingectomy
Based on limited data, salpingectomy is associated with a decrease in risk of ovarian cancer.

Magnitude of Effect: Approximately 50% decrease for bilateral salpingectomy, less protection for unilateral
salpingectomy.

      Study Design: Observational epidemiologic studies from several different countries.
      Internal Validity: Good.
      Consistency: Good.

      External Validity: Good.

Breastfeeding
Based on solid evidence, breastfeeding is associated with a decreased risk of ovarian cancer.

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Magnitude of Effect: 2% decrease with every month of breastfeeding.[10]

      Study Design: Multiple case-control and cohort studies; meta-analysis.
      Internal Validity: Good.

      Consistency: Good.
      External Validity: Good.

Risk reducing bilateral salpingo oophorectomy: benefits
Based on solid evidence, risk-reducing bilateral salpingo-oophorectomy is associated with a decreased risk of
ovarian cancer. Peritoneal carcinomatosis has been reported rarely following surgery. Risk-reducing surgery is
generally reserved for women at high risk of developing ovarian cancer, such as women who have an inherited
susceptibility to ovarian cancer

Magnitude of Effect: 90% reduction in risk of ovarian cancer observed among women with a BRCA1 or BRCA2
mutation

      Study Design: Multiple case-control studies.
      Internal Validity: Good.
      Consistency: Good.

      External Validity: Good.

Risk-reducing bilateral salpingo-oophorectomy: harms
Based on solid evidence, prophylactic oophorectomy among women who are still menstruating at the time of
surgery is associated with infertility, vasomotor symptoms, decreased sexual interest, vaginal dryness, urinary
frequency, decreased bone-mineral density, and increased cardiovascular disease.

Magnitude of Effect: Reported prevalence of vasomotor symptoms varies from 41% to 61.4% among women
who underwent oophorectomy before natural menopause Women with bilateral oophorectomy who did not
take hormone therapy were twice as likely to have moderate or severe hot flashes compared with women who
underwent natural menopause. The RR of cardiovascular disease among women with bilateral oophorectomy
and early menopause was 4.55 (95% CI, 2.56–9.01).

      Study Design: Cohort and case-control studies.

      Internal Validity: Good.
      Consistency: Good.
      External Validity: Good.

Areas of Uncertainty

Ovarian hyperstimulation for infertility treatment
Evidence is poor to determine the association between ovarian hyperstimulation and the risk of ovarian cancer.
Risk of ovarian cancer may be increased among women who remain nulligravid after being treated with ovarian
stimulating medications.


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Magnitude of Effect: Uncertain—risk of invasive ovarian cancer may be increased among women who remain
nulligravid after treatment; risk of borderline ovarian tumors may be increased among women treated with
infertility drugs.

      Study Design: Cohort and case-control studies; systematic review.
      Internal Validity: Fair.
      Consistency: Poor.
      External Validity: Fair.

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Description of the Evidence
Incidence and Mortality
In 2019, it is estimated that 22,530 new cases of ovarian cancer will be diagnosed and 13,980 deaths due to
ovarian cancer will occur.[1] Incidence and mortality rates are higher among whites than among blacks, but
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statistically significant decreases in incidence and mortality rates have been observed among both whites and
blacks.[2] In 2014, the overall incidence rate for ovarian carcinoma among women aged 65 years and older was
41.9 cases per 100,000 women-years.[3] Given that the Surveillance, Epidemiology, and End Results Program
does not adjust for oophorectomy or salpingectomy, racial differences in the prevalence of women who had
undergone these procedures could bias racial rate comparisons. A statistically significant decrease in delayed
adjusted incidence of 0.9% among whites from 1987 to 2012 and 0.2% among blacks from 1992 to 2012 was
observed. A statistically significant decrease in mortality rates of 2.0% per year among whites from 2002 to 2012
and 1.3% per year among blacks from 1992 to 2012 was observed. The population lifetime risk of ovarian cancer
is 1.3%; the population lifetime risk of dying from ovarian cancer is 0.97%.[2]

Histology and Pathogenesis of Ovarian, Fallopian Tube, and Primary Peritoneal
Cancer
Ovarian carcinoma is a biologically and clinically heterogeneous class of tumors that includes several major
subtypes: serous, mucinous, endometrioid, and clear cell. Classification of ovarian carcinomas into type I and
type II tumors has been proposed. In this system, type I tumors include the following:[4]

     1. Endometriosis-related subtypes, such as endometrioid, clear cell, and seromucinous.

     2. Low-grade serous.
     3. Mucinous and malignant Brenner tumors.

Among type I tumors, endometrioid and clear cell carcinomas are numerically predominant and most important
clinically. In general, type I ovarian carcinomas present at a lower stage than type II tumors and portend a better
prognosis.

Type II tumors are comprised mainly of high-grade serous carcinomas, the most common and lethal of all
ovarian carcinoma subtypes. These cancers usually present with symptomatic bulky stage III or IV disease and
ascites. Many, but possibly not all, high-grade serous carcinomas appear to arise from malignant in situ lesions
in the epithelium of the fallopian tube fimbria, which spread to the ovaries secondarily, but continue to be
referred to as ovarian carcinomas. Evidence for a tubal origin is based mainly on examination of risk-reducing
salpingo-oophorectomy specimens, performed among BRCA1/BRCA2 mutation carriers, in which incidental low-
volume disease enables recognition of serous tubal intraepithelial carcinoma (STIC). However, not all women
with high-grade serous carcinomas have identifiable STIC and few studies of the fallopian tubes among women
who are not carriers of BRCA1/BRCA2 mutations have been performed, suggesting that pathogenesis of these
tumors is not fully known. Serous carcinomas can be further divided on the basis of molecular characteristics.[5]

The heterogeneity in the etiology and pathogenesis of different ovarian cancer subtypes and variability in the
classification of tumors over time and between studies pose challenges for interpretation of etiologic data.
Ovarian cancer is a rare cancer, thus sample size and power of studies to detect moderate associations by
cancer subtype is limited. However, clearer subtyping of cancers may assist in improving our understanding of
the etiology of ovarian malignancies in future studies.

Factors With Adequate Evidence of an Increased Risk of Ovarian, Fallopian Tube,
and Primary Peritoneal Cancer

Family history and inherited susceptibility to ovarian, fallopian tube, and primary peritoneal
cancer

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Some women are at an increased risk because of an inherited mutation, with the magnitude of that risk
dependent on the affected gene and specific mutation. Underlying ovarian cancer risk can be assessed through
accurate pedigrees and/or genetic markers of risk. Because of uncertainties about cancer risks associated with
certain specific gene mutations, genetic information may be difficult to interpret outside of families with a high
incidence of ovarian cancer.

This summary does not address multiple genetic syndromes or women who are at high risk because of inherited
genetic factors. (Refer to the PDQ summaries on Genetics of Breast and Gynecologic Cancers and Genetics of
Colorectal Cancer for specific information related to ovarian cancer risk associated with multiple genetic
syndromes and ovarian cancer in BRCA1/BRCA2 mutation carriers.)

Hormone replacement therapy/hormone therapy
A meta-analysis of 52 studies (17 prospective and 35 retrospective) including 21,488 ovarian cancers found
increased risks with current or recent hormone replacement use in prospective studies (relative risk [RR], 1.37;
95% confidence interval [CI], 1.29–1.46), with similar results for retrospective designs. Significant relationships
were found for serous and endometrioid subtypes.[6] Recent use was strongly related to risk even among
women who had used hormone replacement for less than 5 years (RR, 1.41; 95% CI, 1.32–1.50). Risk declined
among women who had discontinued use, with greater effects for longer periods of cessation. Risks did not
differ by preparation types (estrogen only vs. combined estrogen/progestin). Risks also did not differ by age at
use.[7,8]

Obesity and height
Ovarian cancer risk increases with increasing height and weight (body mass index [BMI]).[9] The Collaborative
Group on Epidemiological Studies of Ovarian Cancer compiled individual data, both published and unpublished,
from 47 epidemiological studies including 12,157 women with ovarian cancer and 81,311 controls. RR increased
significantly with increasing height (1.07 per 5 cm height) and with increasing BMI (1.10 per 5 kg/m2). These
findings were unaffected by other factors known to be associated with ovarian cancer risk, with the exception
that ever-users of hormone therapy had no increased risk with increasing BMI. Given that height, weight, and
BMI are thought to be strongly correlated, separating out the individual effects can be difficult. Ovarian cancer
mortality has also been shown to be increased in obese women.[10,11]

Factors With Adequate Evidence of a Decreased Risk of Ovarian, Fallopian Tube,
and Primary Peritoneal Cancer

Oral contraceptives
A collaborative analysis was performed of individual data from 23,257 women with ovarian cancer and 87,303
women without ovarian cancer from 45 studies in 21 countries.[12] The studies included 13 prospective studies,
19 population-based case-control studies, and 12 hospital-based case-control studies. Oral contraceptive use
was associated with a dose-response effect by duration of use, without observed changes in risk reduction by
decade of use from the 1960s to 1980s, over which time the amount of estrogen in oral contraceptives was
approximately halved. No risk reduction was observed for women who used oral contraceptives for less than 1
year. The risk reduction associated with use from 1 to 4 years, 5 to 9 years, 10 to 14 years, and 15 years or more
was 0.78 (99% CI, 0.73–0.893), 0.64 (99% CI, 0.59–0.69), 0.56 (99% CI, 0.50–0.62), and 0.42 (99% CI, 0.36–0.49),
respectively. The observed risk reduction persisted after cessation of oral contraceptive therapy but attenuated
over time since last use. The proportional reduction in risk per 5 years of use was 29% (95% CI, 23%–34%) for


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women who had discontinued use within the last 10 years; the reduction in risk was 15% (95% CI, 9%–21%) for
women who discontinued use 20 to 29 years ago.

A meta-analysis, in which the primary analysis was restricted to 24 case-control and cohort studies published
since 2000 to reflect more recent types of oral contraceptive preparations, also observed a dose-response by
duration of use.[13] The risk reduction among women using oral contraceptives for more than 1 year but less
than 5 years was 0.77 (95% CI, 0.66–0.89), and for women using oral contraceptives for more than 10 years, the
risk reduction was 0.43 (95% CI, 0.37–0.51). The authors estimated that 185 women needed to be treated for 5
years to prevent one case of ovarian cancer. Based on an estimated lifetime risk of 1.38% and prevalence of
ever-use of oral contraceptives of 83%, the authors estimated a lifetime reduction of ovarian cancer attributable
to oral contraceptives of 0.54%.

(Refer to the PDQ summary on Genetics of Breast and Gynecologic Cancers for specific information related to
ovarian cancer risk among BRCA1/BRCA2 mutation carriers.)

Depot-medroxyprogesterone acetate
Limited information is available on the use of injectable progestational contraceptives (depot-
medroxyprogesterone acetate [DMPA]) and the risk of ovarian cancer; studies are confounded by the use of
other contraceptive methods, particularly oral contraceptives. A hospital-based study conducted in Mexico and
Thailand, with 224 cases and 1,781 controls (the World Health Organization Collaborative Study of Neoplasia and
Steroid Contraceptives), did not observe an association between DMPA and ovarian cancer (RR, 1.07; 95% CI, 0.6–
1.8).[14] However, only 22 of the cases had ever used DMPA and nine of these had used it for 6 months or less.

A subsequent multicenter study conducted in 12 hospitals in Thailand, including 330 cases and 982 matched
controls, observed a statistically significant decreased risk of ovarian cancer associated with DMPA use,
controlling for oral contraceptive use and other associated factors (odds ratio [OR], 0.52; 95% CI, 0.33–0.88). A
dose-response association was observed but the sample size was limited in longer-term use categories.[15]

Tubal ligation
A meta-analysis of 16 case-control studies, three retrospective studies, and two prospective cohort studies
observed a decreased risk of ovarian cancer associated with tubal ligation (RR, 0.66; 95% CI, 0.60–0.73).[16] The
reduced risk was observed up to 14 years after tubal ligation. A population-based case-control study of 902
cases and 1,802 controls published subsequent to the meta-analysis observed an adjusted OR of 0.62 (95% CI,
0.51–0.75) associated with a history of a tubal ligation.[17] The association was adjusted for oral contraceptive
use, which was also associated with a lower risk of ovarian cancer (OR, 0.62; 95% CI, 0.47–0.85) and other risk
factors.[17]

Another pooling project with primary data from 13 population-based case-control studies examined the
association between tubal ligation and ovarian cancer risk and included 7,942 epithelial ovarian cancers, and
13,904 controls.[18] Overall, tubal ligation was associated with a 29% reduction in risk (OR, 0.71; 95% CI, 0.66–
0.77). The observed risk reduction varied by subtype of invasive cancers and was 52% (OR, 0.48; 95% CI, 0.40–49)
for endometrioid cancer; 48% (OR, 0.52; 95% CI, 0.40–0.67) for clear cell cancer; 32% (OR, 0.68; 95% CI, 0.52–89)
for mucinous cancer; and 19% (OR, 0.81; 95% CI, 0.74–0,89) for serous cancer.

A pooled analysis from 21 prospective cohort studies examined 14 hormonal, reproductive, and lifestyle factors
by histologic subtype among 5,584 invasive ovarian cancers within a total sample of 1.3 million women. Overall,
tubal ligation was associated with an 18% reduction in risk (OR, 0.82; 95% CI, 0.73–0.93). The observed risk
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reduction varied by subtype of invasive cancer and was 40% (OR, 0.60; 95% CI, 0.41–88) for endometrioid cancer;
65% (OR, 0.35; 95% CI, 0.18–0.69) for clear cell cancer; and 9% (OR, 0.91; 95% CI, 0.79–1.06) for serous cancer.
There was a nonsignificant increase in risk of 1% (OR, 1 01; 95% CI, 0 60 1 71) for mucinous cancer [19]

Breastfeeding
A meta-analysis [20] that included five prospective studies and 30 case-control studies examined the association
between breastfeeding and the risk of ovarian cancer. Any breastfeeding was associated with a decreased risk of
ovarian cancer (RR, 0 76; 95% CI, 0 69 0 83) The risk of ovarian cancer decreased 8% for every 5 month increase
in duration of breastfeeding (95% CI, 0.90–0.95). Another meta-analysis that included five prospective studies
and 35 case-control studies found that any breastfeeding was associated with a decreased risk of ovarian cancer
(RR, 0.70; 95% CI, 0.64–0.76). These results are consistent with a previous meta-analysis and further support the
prior finding of a suggested association between increased duration of breastfeeding and greater levels of
protection.[21] Another meta-analysis of 19 studies, including four cohort and 15 case-control studies found an
overall decreased risk of ovarian cancer with an OR of 0.66 (95% CI, 0.57–0.76) and an association with duration
(2% decrease per month). The benefit of breastfeeding was greatest for the first 8 to 10 months.[22]

Risk-reducing salpingo-oophorectomy
Risk-reducing surgery is an option considered by women who are at high risk of ovarian cancer, such as those
with an inherited susceptibility to cancer. (Refer to the Oral contraceptives section in the PDQ summary on
Genetics of Breast and Gynecologic Cancers for more information on this as a risk reducing intervention )
Among women in the general population, opportunistic salpingectomy, oophorectomy, or salpingo-
oophorectomy have been considered as possible interventions at the time of surgery for other benign
indications. Salpingectomy has also been discussed as a preferred means of sterilization.[23,24]

Harms
Risks associated with benign oophorectomy (with or without salpingectomy or hysterectomy) have been
analyzed in six published studies. Studies of three cohorts found that oophorectomy performed before
menopause (age 45 or 50 years) was associated with increased overall mortality, likely related to cardiovascular
disease. This finding was noted particularly among individuals not using hormone replacement. In the Women’s
Health Initiative, bilateral salpingo-oophorectomy was not associated with increased mortality. In the National
Health and Nutrition Examination Survey (NHANES III), oophorectomy overall was not related to mortality, but
mortality was increased among obese women younger than 40 years who did not use hormone replacement
The California Teachers Study did not find a mortality risk with oophorectomy, but only 3% of women did not use
hormone replacement. Overall, data suggest that oophorectomy among younger women likely increases overall
mortality and that this risk may be attenuated with hormone replacement.[25-30]

Salpingectomy
Data relating salpingectomy to risk of ovarian/tubal cancer are limited, but consistent. A meta-analysis of three
studies found an OR of 0 51 (95% CI, 0 35 0 71) for risk of these cancers among women who had undergone
salpingectomy, compared with women who had intact fallopian tubes.[31] These studies included a Swedish
record linkage study conducted from 1973 to 2009 with a mean follow-up of 23 years, which found the following
hazard ratios (HRs) for risk of ovarian cancer compared with women who had not undergone surgery:

    • For hysterectomy, the HR was 0.79 (95% CI, 0.70–0.88).
    • For hysterectomy with bilateral salpingo-oophorectomy, the HR was 0.06 (95% CI, 0.03–0.12).

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    • For salpingectomy, the HR was 0.65 (95% CI, 0.52–0.81).
    • For sterilization procedures, the HR was 0.72 (95% CI, 0.64–0.81).

Protection for bilateral salpingectomy was approximately twice that for unilateral salpingectomy.[32] This report
included limited covariate data but results were similar to other smaller studies included in the meta-analysis.

Limited data based on circulating surrogate markers of ovarian reserve suggest that salpingectomy does not
have an adverse effect on ovarian function.[33,34]

Factors With Inadequate Evidence of an Association Risk of Ovarian, Fallopian
Tube, and Primary Peritoneal Cancer
Dietary factors
No consistent association has been observed between a variety of dietary factors and the risk of ovarian cancer.

A systematic review and meta-analysis that included 23 case-control studies and three cohort studies found no
evidence of an association between alcohol use and epithelial ovarian cancer.[35]

A case-control study of the Healthy Eating Index (HEI), based on current U.S. Department of Agriculture dietary
guidelines, found no association between the highest HEI score and ovarian cancer risk for any specific food
group.[36] A systematic review of the role of diet in ovarian cancer included only prospective studies, with at
least 200 reported cases in the publications.[37] Twenty-four publications from ten cohort studies were reviewed
and no dietary factors were consistently associated with the risk of ovarian cancer.

Aspirin and nonsteroidal anti-inflammatory drugs
A systematic review and meta-analysis of 21 observational studies found a decreased risk of invasive ovarian
cancer associated with aspirin use (RR, 0.88; 95% CI, 0.79–0.98), but no statistically significant association with
nonsteroidal anti-inflammatory drugs (NSAIDs).[38] A study published subsequent to that review examined
NSAID use and ovarian cancer risk in the National Institutes of Health-AARP Diet and Health Study. No
association was observed between the development of ovarian cancer and regular aspirin use (RR, 1.06; 95% CI,
0.87–1.29) or NSAID use (RR, 0.93; 95% CI, 0.74–1.15).[39] A population-based case-control study [40] of 902
incident cases and 1,802 population controls observed a decreased risk of ovarian cancer associated with
continual use (0.71; 95% CI, 0.53–0.97) or low-dose daily use (0.72; 95% CI, 0.53–0.97). In that study, selective
cyclo-oxygenase-2 NSAIDs but not nonselective NSAIDs were associated with a decreased risk of ovarian cancer
(OR, 0.60; 95% CI, 0.39–0.94). A cohort analysis of about 200,000 women in the Nurses' Health Studies, which
used detailed data about the intensity and duration of aspirin use over time, showed a reduced HR for ovarian
cancer of 0.77 (95% CI, 0.61–0.96) for low-dose aspirin use (≤100 mg/d) but no reduction for standard-dose
aspirin use (HR, 1.17; 95% CI, 0.92–1.49).[41]

Perineal talc exposure
The weight of evidence does not support an association between perineal talc exposure and an increased risk of
ovarian cancer. Results from case-control and cohort studies are inconsistent. A meta-analysis of 16 studies
observed an increased risk with the use of talc (RR, 1.33; 95% CI, 1.16–1.45); however, a dose response
relationship was not found.[42] A pooled analysis from the Ovarian Cancer Association Consortium, composed
of multiple case-control studies, included 8,525 cases and 9,859 controls, found a modest increased risk of
epithelial ovarian cancer associated with genital powder use (OR, 1.24; 95% CI, 1.15–1.33), but the trend across

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increasing lifetime number of applications was not statistically significant (P trend = .17).[43] A population-based
case-control study of African American women in the United States found an association between genital
powder use and risk of epithelial ovarian cancer (OR, 1.44; 95% CI, 1.11–1.86).[44] In this study of 584 cases and
745 controls, a dose-response relationship for any genital powder use was reported. Specifically, among any
genital powder use, daily powder use was associated with increased adjusted OR of developing ovarian cancer
(OR, 1.71; 95% CI, 1.26–2.33) compared with less than daily use (OR, 1.12; 95% CI, 0.80–1.58). A cohort study
among nurses did not observe a risk of ovarian cancer associated with perineal talc use (RR, 1.09; 95% CI, 0.86–
1.37) and there was no evidence of increased risk with increasing frequency of use.[45] Another prospective
study, The Women’s Health Initiative, examined the association between perineal powder use and the
development of ovarian cancer among 61,576 women without a history of cancer at enrollment and who
provided exposure information. Among this group, 429 cases of ovarian cancer occurred. Powder use on
genitals, sanitary napkins, and diaphragms was examined individually and as a combined exposure. Women
were followed for a mean of 12.4 years. An association of ovarian cancer with ever-use was not found when
analyzed either by individual method of exposure or by overall combined exposure. The observed risk (hazard
ratio) for combined exposure to perineal powder was 1.06 (95% CI, 0.87–1.28) and there was no increased risk
observed for increasing duration of use.[46]

Areas of Uncertainty
Ovarian hyperstimulation due to infertility treatment
Controversy persists concerning the association between ovarian hyperstimulation and ovarian cancer. Results
of a systematic review and meta-analysis of nine cohort studies comprised 109,969 women who were exposed to
ovarian hyperstimulation for infertility treatment (i.e., in vitro fertilization [IVF]), with 76 incident ovarian cancer
cases observed, provided inconclusive evidence for an association.[47] An increased risk of ovarian cancer was
observed when the comparison group was the general population (RR, 1.50; 95% CI, 1.17–1.92), but no
statistically significant increased risk was observed when the reference group was unexposed infertile women
(RR, 1.26; 95% CI, 0.62–2.55). A major limitation was that only one of the cohort studies included in the meta-
analysis had a follow-up period longer than 10 years for those exposed to IVF.

A Cochrane systematic review that included 11 case-control studies and 14 cohort studies, for a total of 186,972
women, was also indeterminate for an association. Summary statistics were not calculated because of
methodological and clinical heterogeneity. Among seven cohort studies that compared treated women with
untreated subfertile women, no excess risk was noted in association with hyperstimulation medications. Two
cohorts noted an increased risk of twofold to fivefold when treated women were compared with the general
population. An increased risk of borderline ovarian tumors was noted in three case-control studies and two
cohort studies. Overall, the authors concluded there was no convincing evidence that an increased risk of
invasive ovarian tumors was associated with fertility drug treatments.[48]

After the Cochrane review, a follow-up study of an infertility cohort [49] was published. A retrospective cohort of
9,825 women enrolled between 1965 and 1988 was followed through 2010. Ovarian cancer occurred in 85
women. Overall, there was no association between ovarian cancer and clomiphene citrate (RR, 1.34; 95% CI,
0.86–2.07) or gonadotropins (RR, 1.00; 95% CI, 0.48–2.08). Among the subgroup of women who remained
nulligravid after treatment, an increased risk of ovarian cancer was associated with clomiphene citrate (RR, 3.63;
95% CI, 1.36–9.72); no increased risk was observed among women who successfully conceived after being
treated, compared with women who were not treated.

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Changes to This Summary (03/01/2019)
The PDQ cancer information summaries are reviewed regularly and updated as new information becomes
available. This section describes the latest changes made to this summary as of the date above.

Description of the Evidence


https://www.cancer.gov/types/ovarian/hp/ovarian-prevention-pdq                                                                            16/18
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Updated statistics with estimated new cases and deaths for 2019 (cited American Cancer Society as reference 1).

Added text about a cohort analysis of about 200,000 women in the Nurses' Health Studies, which used detailed
data about the intensity and duration of aspirin use over time, that showed a reduced hazard ratio for ovarian
cancer of 0.77 for low-dose aspirin use but no reduction for standard-dose aspirin use (cited Barnard et al. as
reference 41).

This summary is written and maintained by the PDQ Screening and Prevention Editorial Board, which is
editorially independent of NCI. The summary reflects an independent review of the literature and does not
represent a policy statement of NCI or NIH. More information about summary policies and the role of the PDQ
Editorial Boards in maintaining the PDQ summaries can be found on the About This PDQ Summary and PDQ® -
NCI's Comprehensive Cancer Database pages.




About This PDQ Summary
Purpose of This Summary
This PDQ cancer information summary for health professionals provides comprehensive, peer-reviewed,
evidence-based information about ovarian, fallopian tube, and primary peritoneal cancer prevention. It is
intended as a resource to inform and assist clinicians who care for cancer patients. It does not provide formal
guidelines or recommendations for making health care decisions.

Reviewers and Updates
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Board members review recently published articles each month to determine whether an article should:

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    • be cited with text, or
    • replace or update an existing article that is already cited.

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Levels of Evidence


https://www.cancer.gov/types/ovarian/hp/ovarian-prevention-pdq                                                                            17/18
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Some of the reference citations in this summary are accompanied by a level-of-evidence designation. These
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summary about breast cancer prevention states the risks succinctly: [include excerpt from the summary].”

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Prevention. Bethesda, MD: National Cancer Institute. Updated <MM/DD/YYYY>. Available at:
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Updated: March 1, 2019


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